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                     ~upr.em.e Qlourt of Qlalifornin
                                 JORGE E . NAVARRETE
                            Clerk and Executive Officer of the Supreme Court




       CERTIFICATE OF THE CLERK OF THE SUPREME COURT

                                              OFTHE

                              STATE OF CALIFORNIA


                                  SARAH MEYERS RAY

I, JORGE E. NAVARRETE, Clerk/Executive Officer of the Supreme Court of the State of
California, do hereby certify that SARAH MEYERS RAY, #229670, was on the 5th day of
January 2004, duly admitted to practice as an attorney and counselor at law in all the
courts of this state, and is now listed on the Roll ofAttorneys as a member ofthe bar ofthis
state in good standing.




                                                Witness my hand and the seal of the court
                                                on the 26th day of May 2020.



                                                JORGE E. NA V ~RRf ]:'E
                                                Clerk/Executwt f!J.fzi e__r:;i,>]"tf,,_e Supreme Court
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                                                By:___f~                     ~               . _::;-
                                                       T.   t':fa, Dep1Jty Clerk---...        -~
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